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19
                                   UNITED STATES DISTRICT COURT
20                               NORTHERN DISTRICT OF CALIFORNIA

21    CHASOM BROWN, WILLIAM BYATT,                  Case No.: 4:20-cv-03664-YGR-SVK
      JEREMY DAVIS, CHRISTOPHER
22
      CASTILLO, and MONIQUE TRUJILLO                DECLARATION OF MARK C. MAO IN
23    individually and on behalf of all similarly   SUPPORT OF PLAINTIFFS’
      situated,                                     OBJECTIONS TO THE SPECIAL
24                                                  MASTER’S RECOMMENDED
                     Plaintiffs,                    PRESERVATION PLAN
25
       vs.                                          Referral: The Honorable Susan van Keulen
26

27     GOOGLE LLC,

28                   Defendant.

                                                                    DECLARATION OF MARK C. MAO
                                                                   Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 546-1 Filed 04/15/22 Page 2 of 2




1                                      DECLARATION OF MARK C. MAO
2             I, Mark C. Mao, declare as follows.
3             1.       I am a partner with the law firm of Boies Schiller Flexner LLP, counsel for Plaintiffs
4     in this matter. I am an attorney at law duly licensed to practice before all courts of the State of
5     California. I have personal knowledge of the matters set forth herein and am competent to testify.
6             2.       I submit this Declaration in support of Plaintiffs’ Objections to the Special Master’s
7     Recommended Preservation Plan.
8             3. Attached hereto as Exhibit 1 are excerpts from the March 18, 2022 deposition of
9     Google employee and designated Rule 30(b)(6) witness Dr. Glenn Berntson.
10

11            I declare under penalty of perjury under the laws of the United States of America that the
12 foregoing is true and correct. Executed this 15th day of April, 2022, at San Francisco, California.

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                                                                    /s/ Mark Mao
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                                                                                      DECLARATION OF MARK C. MAO
                                                                                     Case No. 4:20-cv-03664-YGR-SVK
